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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION
P.M.I. SERVICES NORTH AMERICA,               §
INC.,                                        §
       PLAINTIFF                             §
                                             §
V.                                           §   CIVIL ACTION NO. 3:16-cv-00442-PRM
                                             §
ENDURO PIPELINE SERVICES, INC.,              §
    DEFENDANT                                §

             PLAINTIFF’S DISCLOSURE OF EXPERT WITNESSES

      Plaintiff P.M.I. Services North America, Inc. (“Plaintiff” or “PMI”) discloses the

following expert witnesses in the above-referenced matter in accordance with this Court’s

Scheduling Order and FED. R. CIV. P. 26(a)(2). These individuals may testify in this case.

                                           I.
                                 Designation of Experts

      Pursuant to Fed.R.Civ.P. 26(a)(2)(C), PMI designates as non-retained experts the

following persons who may be called to provide expert opinions and expert testimony.

      1.     Darryn Tollefson
             Dong-Hyeon Joh
             P.M.I. Services North America, Inc.
             c/o Christine Kirchner and
             Cade W. White
             Chamberlain, Hrdlicka, White,
             Williams & Aughtry, P.C.
             1200 Smith Street, Suite 1400
             Houston, Texas 77002
             (713) 658-1818

       Mr. Tollefson and Mr. Joh are employees of PMI and the subject matter of their
expected testimony is the risks associated with further movement of the magnets in the
pipeline at issue as well as costs of removal of the magnet remaining on the Mexico side
of the pipeline. Specifically, Mr. Tollefson and Mr. Joh are expected to testify that
continued movement of the magnets, of which they first became aware in 2015, can result
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in in the magnets moving to an unrecoverable location, such as a horizontal drill site,
pumping station, intake valve, etc., presenting a risk to ongoing operations. Mr. Tollefson
and Mr. Joh are further expected to testify that the cost of removing the magnet on the
Mexico side of the pipeline will total between $350,000 to $600,000.

      2.      Darryl Knee
              Sterling Fountain
              Dale Corbello
              Otty H. Medina, Sr.
              Buckeye Development and Logistics, LLC
              One Greenway Plaza, Suite 880
              Houston, Texas 77046
              (832) 615-8600

       Mr. Knee, Mr. Fountain, Mr. Corbello and Mr. Medina are employees of Buckeye
Development and Logistics, LLC, the operator of the pipeline at issue. The subject matter
of their expected testimony is the reasonableness of the costs associated with the past
removal of a magnet from the pipeline as well as the costs associated with removing the
magnet remaining on the United States side of the pipeline. Specifically, Mr. Knee, Mr.
Fountain, Mr. Corbello and Mr. Medina are expected to testify that the costs associated
with the past removal of a magnet from the pipeline were reasonable and that the costs
associated with the removal of the magnet remaining on the United States side of the
pipeline will total between $325,000 to $335,000.

      3.      Corporate Representative(s) of Rosen USA, Inc.
              14120 Interdrive East
              Houston, Texas 77032
              (281) 442-8282

      The subject matter of the anticipated testimony of the Corporate Representative(s)
of Rosen USA, Inc. is the reason(s) why it would not run a MFL tool through the pipeline
in 2015, or warranty the results or perform a DOT compliant ILI survey, the details of
which are more fully described in PMI000490-000541. The Corporate Representative(s)
of Rosen USA, Inc. is further expected to provide testimony regarding its policies and
procedures regarding running a tool through a pipeline and when it, a reasonable and
prudent company, would not do so.

      4.      Christine Kirchner
              Chamberlain, Hrdlicka, White, Williams & Martin
              1200 Smith Street, Suite 1400
              Houston, Texas 77002
              (713) 658-1818



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        Mr. Kirchner is a shareholder of her respective firm. The general substance of Ms.
Kirchner’s opinions concerns the reasonableness and necessity of Plaintiff’s attorneys’
fees     and      costs.     Ms.      Kirchner's      CV      can     be      found     at
http://www.chamberlainlaw.com/attorneys-43.html.

       Ms. Kirchner is an attorney licensed to practice in Texas who will testify regarding
the amount, reasonableness and necessity of attorneys’ fees, based on Texas Disciplinary
Rule of Professional Conduct 1.04, expended by Plaintiff in pursuing its claims in this
case. Ms. Kirchner will likely review the pleadings, discovery and other pertinent
material pertaining to the case and other documents in the file.

       The factors Ms. Kirchner will consider in determining the reasonableness of a fee
include, but are not limited to, the following:

      a.     the time and labor required, the novelty and difficulty of the questions
      involved, and the skill requisite to perform the legal service properly;

      b.    the likelihood, that the acceptance of this case will preclude other
      employment by the lawyers involved;

      c.       the fee customarily charged in the locality for similar legal services;

      d.       the amount involved and the results obtained;

      e.       the time limitations imposed by the client or by the circumstances;

      f.       the nature and length of the professional relationship with the client;

      g.     the experience, reputation, and ability of the lawyers performing the
      services; and

      h.     whether the fee is fixed or contingent on result obtained or uncertainty of
      collection before the legal services have been rendered.

       Ms. Kirchner may be expected to have reviewed all non-privileged materials
related to this case, including but not limited to, discovery, depositions, pleadings, and
other related file material.

      5.       Retained Pipeline Owner/Operator Expert
               c/o Christine Kirchner and
               Cade W. White
               Chamberlain, Hrdlicka, White,
               Williams & Aughtry, P.C.


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       PMI may also designate a retained expert and supplement with a written report
complying with Fed.R.Civ.P. 26(a)(2)(B) once factual testimony has been obtained from
the parties and the witnesses identified above and said expert has the information needed
to properly evaluate and opine as to the problems and challenges faced by an
owner/operator with dislodged magnets in its pipeline with regard to: (a) execution of an
ILI survey; and (b) issues with selection and utilization of tools used during an ILI survey
given the presence of magnets in the pipeline. It is anticipated that said expert will rely
upon the testimony of a Rosen corporate representative(s), Enduro personnel and PMI
personnel in forming their opinions as well as industry standards and publications.
                                            II.
                                  Reservation of Rights

       Pursuant to the Federal Rules of Civil Procedure, the Federal Rules of Evidence,
and the Court’s Scheduling Order, PMI reserves the right to supplement this designation
as appropriate and to designate any rebuttal expert witnesses as required and appropriate.
PMI reserves the right to elicit, by way of cross-examination, opinion testimony from
experts designated and called by any other party in this matter, whether through live
testimony at trial or by deposition.

       PMI reserves the right to call at the trial of this cause any witness, either fact or
expert, designated by any other party to this litigation, who will testify in rebuttal, and
whose identities cannot be known until the presentation of the evidence against PMI.

      PMI reserves the right to withdraw the designation of any expert witness and to
aver positively that such previously-designated expert will not be called as an expert
witness at trial and to re-designate the same as a consulting expert, who cannot be called
by opposing counsel absent a showing of exceptional circumstances such that it is
impracticable to obtain facts or opinions on the same subject by other means.

        PMI reserves the right to elicit any expert testimony and/or lay opinion testimony
at the time of trial that would assist the jury in determining material issues of fact.

        PMI reserves the right to supplement this designation of experts further within the
limitations imposed by the Court or any alterations of the same by subsequent Court
Order and/or by agreement of the parties or pursuant to the Federal Rules of Civil
Procedure and/or the Federal Rules of Evidence.




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       PMI reserves whatever additional rights it may have with regard to experts,
pursuant to the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the case
law construing same, the Court’s Scheduling Order and the rulings of this Honorable
Court.


                                         Respectfully submitted,

                                         CHAMBERLAIN, HRDLICKA, WHITE,
                                          WILLIAMS & AUGHTRY, P.C.

                                         By:    /s/ Christine Kirchner
                                                Christine Kirchner
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                                         By:    /s/ Clyde A. Pine, Jr.
                                                Clyde A. Pine, Jr.
                                                State Bar No. 16013460
                                         ATTORNEYS FOR PLAINTIFF,
                                         P.M.I. SERVICES OF NORTH AMERICA, INC.




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                            CERTIFICATE OF SERVICE

       I do hereby certify that on this 23rd day May 2017 the foregoing was filed in this
matter via the Court’s CM/ECF system, which will electronically notify all counsel of
record of the filing.


                                       /s/ Cade W. White
                                  Cade W. White



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